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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                               §
HIGHLAND CAPITAL MANAGEMENT §
L.P.,                                                §
                                                     §       Bankr. No. 19-34054-SGJ-11
        Debtor.                                      §       (Adv. No. 21-03006)
                                                     §
                                                     §
---------------------------------------------------- §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                                                §
                                                     §
        Plaintiff,                                   §
                                                     §
v.                                                   §       Civil Action No. 3:21-CV-1378-N
                                                     §
HIGHLAND CAPITAL MANAGEMENT §
SERVICES, INC.,                                      §
                                                     §
        Defendant.                                   §

                 ORDER ON MOTION TO WITHDRAW REFERENCE

        Before the Court is the Report and Recommendation to the District Court on the

Motion to Withdraw the Reference [1]. The Court hereby adopts the recommendation of

the United States Bankruptcy Judge Stacey G. C. Jernigan, as follows: upon certification

by the Bankruptcy Court that the parties are ready for trial, the Court will withdraw the

reference. The Court refers all pretrial matters to the Bankruptcy Court.

        Signed July 26, 2021.

                                                     ____________________________________
                                                                David C. Godbey
                                                            United States District Judge
